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                  IN THE UNITED STATES DISTRICT COURT
                    FOR THE DISTRICT OF PUERTO RICO

UNITED STATES OF AMERICA,

         Plaintiff,

                  v.                         CRIMINAL NO. 12-413 (FAB)
ORLANDO RIVERA-FUENTES [5],
ERNESTO MARTINEZ-GONZALEZ [7],
CARLOS CAMACHO-SANTIAGO [14],
RAFAEL RENOVALES-VAZQUEZ [16],

         Defendants.


                               MEMORANDUM AND ORDER

BESOSA, District Judge.

     Before    the     Court    are defendant    Carlos    Camacho-Santiago’s

motion requesting a discovery order (Docket No. 1094)1 and the

United States’ response and motion in limine (Docket No. 1138).

For the reasons that follow, the Court GRANTS IN PART and DENIES IN

PART defendants’ motion, and GRANTS IN PART and DENIES IN PART the

United States’ motion.

     Defendants seek access to the transcripts, voice recordings,

and expert reports of and relating to phone calls made to co-

defense counsel Anita Hill, including but not limited to the

records sealed at Docket Nos. 323 and 325.            The United States does

not oppose this request, but moves to preclude the defense from

introducing extrinsic evidence of the phone calls at trial, and

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      This motion was joined by defendants Orlando Rivera-Fuentes,
Ernesto Martínez-González and Rafael Renovales-Vázquez. (Docket
Nos. 1098, 1099 and 1113.)
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from referring to the expert reports.            Because the United States

does not oppose the defendants’ request, defendants’ motion is

GRANTED IN PART and DENIED IN PART.            The Court orders the United

States to provide the defendants with access to the materials

sought, including the documents at Docket Nos. 323-1 and 325-1, as

well as any transcript, voice recording, and expert report relating

to the October 2012 calls to attorney Anita Hill.                The defendants

will not have access, however, to any recording or voice exemplar

made by the expert voice analyst for the purposes of comparison.

      The United States further moves pursuant to Federal Rule of

Evidence 403 to bar “any other evidence in relation to the alleged

phone call made to Counsel Hill,” aside from cross-examination on

the matter, contending that such evidence will “unduly prejudice,

confuse the issues or mislead the jury.”               (Docket No. 1138 at

p. 2.)    To the extent that the government seeks to preclude the

defendants’ introduction of extrinsic evidence pursuant to Federal

Rules of Evidence 608(b) or 613(b), the government’s motion is

DENIED.    Rule 608(b) does not preclude “extrinsic evidence offered

for    general    impeachment     purposes,     such     as,     for    example,

contradictions, prior inconsistent statements, bias, or mental

capacity.” United States v. Delgado-Marrero, 2014 WL 522462, at *8

(1st Cir. 2014) (granting a new trial where a district court

erroneously excluded extrinsic evidence of the government witness’

prior inconsistent statements).           That impeachment evidence is
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relevant to the defendants’ defense.                 Furthermore, the Court

previously stated, in an order denying expert voice analysis, that

the “jury is ‘perfectly well-equipped’ to listen to the witnesses

testify in court, compare their voices to the voice in the audio

recordings, and draw conclusions about whose voice is in the audio

recordings.”      (Docket No. 936 at p. 4.)        The Court noted that such

evidence would be admissible as long as the proponent of the audio

recordings was able to sufficiently authenticate the recordings

pursuant to Federal Rule of Evidence 901.               Id.   Because the Court

found that defendant Carlos Arce-Lopez was “free at trial to

challenge the reliability of the recordings and the witnesses’

testimony through cross-examination and impeachment through prior

statements,” the Court finds no reason to deny the same opportunity

to   Arce-Lopez’s       co-conspirators.          The    government     has      not

demonstrated how — and the Court does not find that — the probative

value of the evidence at issue is substantially outweighed by a

danger of unfair prejudice, confusing the issues, misleading the

jury, or undue delay.         See Fed. R. Evid. 403.          Accordingly, the

Court   DENIES    the    United   States’   motion       in   limine   regarding

extrinsic evidence of the voice recordings.

      The Court previously barred voice analysis expert testimony as

to   defendants    Arce-Lopez     and   Annette    Cancel-Lorenzana       (Docket

No. 936); no circumstances here call for a different finding with

regard to the moving defendants.          Accordingly, the United States’
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motion in limine is GRANTED with respect to any voice analysis

expert reports, including the voice exemplars created by the voice

analyst for the purposes of an expert opinion.

     IT IS SO ORDERED.

     San Juan, Puerto Rico, February 21, 2014.


                                       s/ Francisco A. Besosa
                                       FRANCISCO A. BESOSA
                                       United States District Judge
